                                                                                              (1 of 2)
         Case:UNITED
               21-1143,STATES
Case 2:09-bk-26198-BR   Document:
                        Doc       27-1,02/17/22
                                        Filed: APPELLATE
                            106BANKRUPTCY
                                 Filed         02/17/2022     Page 12:28:05
                                                  Entered 02/17/22
                                                            PANEL  1 of 1              Desc
                         Main Document      Page 1 of 2
                                    OF THE NINTH CIRCUIT
 ____________________________________________________________________________
     In re: RUBEN RUIZ; KENYA RUIZ

           lllllllllllllllllllllDebtors
                                                           BAP No. CC-21-1143-TFG
          ------------------------------
                                                         Bankr. No. 2:09-bk-26198-BR
            GREGORY BOSSE
                                                                  Chapter 7
          lllllllllllllllllllllAppellant

                       v.
                                                               February 17, 2022
               KENYA RUIZ

          lllllllllllllllllllllAppellee
 ____________________________________________________________________________



                        PROOF OF SERVICE OF MANDATE

                     A certified copy of the attached judgment was sent to:

                                             CLERK

                                   U.S. BANKRUPTCY COURT

                                     BkCt, Los Angeles
                                  U.S. Bankruptcy Court
                      Edward R. Roybal Federal Building and Courthouse
                                   255 East Temple Street
                                        Room 1682
                                         Room 940
                                Los Angeles, CA 90012-3332


                                  Honorable Barry Russell
                                  U.S. Bankruptcy Court
                      Edward R. Roybal Federal Building and Courthouse
                                   255 East Temple Street
                                        Room 1682
                                         Ste. 1660
                                Los Angeles, CA 90012-3332


                                       on February 17, 2022
                              By: Cecil Lizandro Silva, Deputy Clerk
                                                                                                                    (2 of 2)
         Case: 21-1143, Doc
Case 2:09-bk-26198-BR   Document: 27-2,02/17/22
                            106 Filed   Filed: 02/17/2022     Page 12:28:05
                                                  Entered 02/17/22 1 of 1                                  Desc
                         Main Document      Page 2 of 2
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                                                                                                        JAN 24 2022
                 UNITED STATES BANKRUPTCY APPELLATE PANEL
                                                                                                    SUSAN M. SPRAUL, CLERK
                                     OF THE NINTH CIRCUIT                                             U.S. BKCY. APP. PANEL
                                                                                                      OF THE NINTH CIRCUIT

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     In re: RUBEN RUIZ; KENYA RUIZ

            lllllllllllllllllllllDebtors
                                                                       BAP No. CC-21-1143-TFG
          ------------------------------
                                                                      Bankr. No. 2:09-bk-26198-BR
             GREGORY BOSSE
                                                                               Chapter 7
           lllllllllllllllllllllAppellant

                        v.
                                                                           January 24, 2022
                KENYA RUIZ

           lllllllllllllllllllllAppellee
 ____________________________________________________________________________


                                              JUDGMENT

 ON APPEAL from the United States Bankruptcy Court for California Central - Los Angeles.

 THIS CAUSE came on to be heard on the record from the above court.

 ON CONSIDERATION WHEREOF, it is ordered and adjudged by this Panel that the
 judgment of the Bankruptcy Court is AFFIRMED IN PART AND REVERSED IN PART.

                                            FOR THE PANEL,

                                           Susan M Spraul
                                            Clerk of Court
                               By: Cecil Lizandro Silva, Deputy Clerk
                                             Date: January 24, 2022




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